            Case 6:17-ap-00044-KSJ      Doc 212    Filed 09/22/18   Page 1 of 27



                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov

In re:                                            CHAPTER 11
                                                  CASE NO.: 6:15-BK-07275-KSJ
PROGRESSIVE PLUMBING, INC.,

PROGRESSIVE SERVICES, LLC and                     JOINTLY ADMINISTERED WITH
GRACIOUS LIVING DESIGN                            CASE NO.: 6:15-BK-07276-KSJ
CENTER, INC.                                      CASE NO.: 6:15-BK-07277-KSJ

                  Debtors.
_________________________________/

KELLOGG & KIMSEY, INC.
A Florida Corporation,

         Plaintiff

v.                                                Adv. Case No.: 6:17-AP-00044-KSJ

PROGRESSIVE PLUMBING, INC.,
A Florida Corporation, ALLIED WORLD
SPECIALTY INSURANCE COMPANY,
a Foreign Profit Corporation,

      Defendants.
_________________________________/
PROGRESSIVE PLUMBING, INC.,

         Counter-Plaintiff,

v.

KELLOGG & KIMSEY, INC.,

      Counter-Defendant.
_________________________________/
PROGRESSIVE PLUMBING, INC.,
      Cross-Plaintiff,

v.
ALLIED WORLD SPECIALTY
INSURANCE COMPANY,

                                            1
          Case 6:17-ap-00044-KSJ          Doc 212       Filed 09/22/18   Page 2 of 27




      Cross-Defendant.
_________________________________/
ALLIED WORLD SPECIALTY
INSURANCE COMPANY,

       Cross-Plaintiff,

v.

PROGRESSIVE PLUMBING, INC.,

      Cross-Defendant.
_________________________________/

          PLAINTIFF, KELLOGG & KIMSEY, INC.’S TRIAL EXHIBIT LIST


Progressive provides the following listed objections and legend for its objections (Allied’s
objections are mentioned on the last page of this document):
H – Hearsay. For purposes of clarification, Progressive does not object to emails sent by
Progressive, but may mark an email chain as hearsay which includes out of court statements by
other persons, but the objection is limited to statements by non-Progressive parties.
NP – Not produced, and therefore not usable at trial.
A – Authentication
R – Not relevant or proper evidence
BE – Best Evidence




                                                2
          Case 6:17-ap-00044-KSJ      Doc 212    Filed 09/22/18    Page 3 of 27

Ex. #             Document Description                 Date         Date      With or
                                                     Identified   Admitted   Without
                                                                             Objection
        Prime Contract – Specs, Drawings, Addenda
 1      etc. (Depo Ex. 112, 150)
 2      All Owner Change Orders (Depo Ex. 98-111)
 3      Progressive Subcontract (Depo Ex. 2)
 4      Subcontract Payment and Performance Bonds
        “David Reed” 2/13/2013 Progressive
 5      plumbing SA, Ex B & LOI (Depo Ex. 36)
        “Kristyn Newton” 2/22/2013 RE_ Progressive
 6      Plumbing Contract - 1800 West End
        “Kelly Armstrong” 2/22/2013 FW_
        Progressive Plumbing Contract - 1800 West
 7      End (Depo Ex. 37)
        “Bill Lawson” 2/26/2013 FW_ 1800 West
 8      End Hotel Contract Review
        “David Reed” 2/27/2013 RE_ 1800 West End
 9      Hotel Contract Review
        “David Reed” 3/5/2013 RE_ 1800 West End
 10     Hotel Contract Review(1) (Depo Ex. 53)
        “David Reed” 3/6/2013 RE_ Progressive
 11     Plumbing Intent Ltr - 1800 West...
        “David Reed” 3/6/2013 Progressive Plumbing
 12     SA
 13     “David Reed” 3/15/2013 Revised Exhibit B
        “David Reed” 3/19/2013 FW_ Revised
 14     Exhibit B
 15     “Kim French” 3/25/2013 FW_ Invoice
        “David Reed” 3/27/2013 RE_ Revised SOV
 16     & Bond Invoice
        “David Reed” 3/28/2013 FW_ Revised SOV
 17     & Bond Invoice
        “David Reed” 3/28/2013 RE_ Revised SOV
 18     & Bond Invoice(1)
        “Kristyn Newton” 3/29/2013 1800 West End
 19     Invoice and Bond
        “Kelly Armstrong” 4/18/2013 Payment
 20     Documents & CO Log
        “David Reed” 4/20/2013 RE_ 1800 West End
 21     Invoice and Bond
        “David Reed” 4/22/2013 RE_ 1800 West End
 22     Invoice and Bond(1)
        “David Reed” 4/25/2013 RE_ Bond Review -
 23     Progressive Plumbing - 1800 W...
        “Bo Heidorn” 5/16/2013 RE_ 1800 Grease
 24     Traps PO 73589

                                            3
       Case 6:17-ap-00044-KSJ      Doc 212    Filed 09/22/18   Page 4 of 27



     “Greg Schamberg” 6/3/2013 Response to RFI
25   020- Switch to Pex and riser pi...
     “Bo Heidorn” 6/5/2013 FW_ 1800 Booster
26   Revised
     “Ashley Stalma” 6/17/2013 TENNESSEE
27   EMPLOYEES TO SAVANNAH
     “Ashley Stalma” 6/18/2013 RE_ Nashville
28   Plumbers
     “Cory Richardson” 7/11/2013 RE_ Fixture
29   list
     “David Reed” 7/22/2013 RE_ 1800 Change
30   Request 001
     “Bo Heidorn” 8/12/2013 1800 West End
31   Sleeves S172319188
     “Bo Heidorn” 8/28/2013 1800 Gravel
32   Request
33   “Bo Heidorn” 8/28/2013 1800 Gravel
34   “David Reed” 8/28/2013 Gastite
35   “Bill Lawson” 8/29/2013 Re_ 1800 Gravel
36   “Chris Mizell” 9/4/2013 RE_ 1800 West End
     “Bo Heidorn” 9/5/2013 Mixing_Balancing
37   Vlave
     “Bo Heidorn” 9/10/2013 FW_ FW_ 1800
38   West End - mixing valves
39   “Bo Burns” 9/27/2013 1800 west end
     “Kim French” 9/27/2013 FW_ Training at
40   1800 West End
     “Ashley Stalma” 10/1/2013 CPVC Fitting and
41   Installation Procedure
     “Bo Heidorn” 11/11/2013 RE_ Material
42   request 1800 west end
43   “Bo Burns” 11/27/2013 RE_ Floor drains
     “Bo Heidorn” 11/27/2013 1800 West End
44   Drains
45   “Bo Heidorn” 12/10/2013 FW_ Material
     “Bo Heidorn” 1/2/2014 1800 West End
46   Showers
     “Rick Heidorn” 1/6/2014 Emailing_
47   CCF01062014_00001
     “Rick Heidorn” 1/6/2014 Emailing_
48   CCF01062014_00003
     “Bill Lawson” 1/8/2014 Re_ Drug test 1800                                H, R
49   west end
     “Billy Lawson” 1/14/2014 FW_ Nashville                                    H
50   Job


                                         4
       Case 6:17-ap-00044-KSJ       Doc 212    Filed 09/22/18   Page 5 of 27



51   “Billy Lawson” 1/14/2014 Mail                                             H
52   “Bobbie Crane” 1/14/2014 RE_                                              H
     “Bobbie Crane” 1/21/2014 FW_ Attached                                     H
53   Image
     “Bo Burns” 2/24/2014 Shower valve 1800                                    H
54   west end
55   “Bo Burns” 2/27/2014 1800 shower pans                                   H
56   “Kim French” 3/14/2014 FW_ 1800 west end                                H
57   “Bo Burns” 3/19/2014 Pictures 1800 west end                           H, A
58   “David Reed” 3/21/2014 Cut stacks from roof                             H
59   “Bill Lawson” 3/31/2014 Re_ Drug Screen                              H, A, R
60   “Bo Burns” 4/1/2014 1800 west end labor                                 H
     “Bo Burns” 4/1/2014 Mazzeo plumbing                                     H
61   projection
     “Steve Byram” 4/2/2014 FW_ TUBS FOR                                       H
62   WEST END
     “Bo Burns” 4/7/2014 1800 west end change                                  H
63   order resident inn
64   “Bill Lawson” 4/11/2014 Completion List                                   H
     “Kristyn Newton” 4/17/2014 1800 West End                                  H
65   Change Request 007
     “Kristyn Newton” 4/17/2014 1800 West End                                  H
66   Change Requst 008
     “Kristyn Newton” 4/17/2014 1800 West End                                  H
67   Change Request 009
     “Kristyn Newton” 4/17/2014 1800 West End                                  H
68   Change Request 10
     “Kristyn Newton” 4/17/2014 1800 West End                                  H
69   Change Request 011
     “Kristyn Newton” 4/17/2014 1800 West End                                  H
70   Change Request Log
     “Kristyn Newton” 4/22/2014 1800 West End                                  H
71   April Billing
72   “Kristyn Newton” 4/24/2014 FW_ 1800                                       H
     “Jean Mazzeo” 4/27/2014 1800 West End                                     H
73   Ave., Nashville, Tn.
     “Kristyn Newton” 4/29/2014 FW_ 1800 West                                  H
74   End April Billing
     “Rick Crowell” 4/29/2014 FW_ Nashville                                    H
75   Plumber
76   “Rick Crowell” 4/29/2014 FW_ Corner lavs                                  H
     “Rick Crowell” 4/29/2014 FW_ Loose                                        H
77   shower valves
78   “Rick Crowell” 4/29/2014 FW_ More                                         H
79   “Ashley Stalma” 4/30/2014 RE_ Plumbers                                    H

                                         5
        Case 6:17-ap-00044-KSJ       Doc 212     Filed 09/22/18   Page 6 of 27



      “Rick Crowell” 4/30/2014 RE_ 1800 West                                      H
80    End Ave. Trim Out
      “Rick Crowell” 4/30/2014 FW_ Tradesmen                                      H
81    International
      “Rick Crowell” 4/30/2014 FW_ 31118 PVC                                      H
82    Heavy Duty Gray Cement
      “Bill Lawson” 5/1/2014 FW_ CPVC                                             H
83    Procedure and Tub Set Procedure for 18...
      “Steve Byram” 5/1/2014 Nashville 1800                                       H
84    west end foreman change
85    “Ashley Stalma” 5/1/2014 Help for 1800                                      H
      “Rick Crowell” 5/2/2014 Fwd_ release of                                     H
86    material
      “Mike Hardesty” 5/2/2014 Re_ Bid                                            H
87    S143583973
      “Billy Lawson” 5/7/2014 RE_ CPVC                                            H
88    Procedure and Tub Set Procedure for 18...
89    “Billy Lawson” 5/12/2014 FW_ Vern                                           H
      “Rick Crowell” 5/12/2014 RE_ Glue for                                       H
90    insulation
      “Rick Crowell” 5/12/2014 FW_ Marriott                                       H
91    Nashville Uponor Inspection findings
      “David Reed” 5/15/2014 RE_ 1800 West End                                    H
92    April Billing
      “David Reed” 5/17/2014 Outstanding change                                   H
93    order requests
94    “Steve Lynk” 5/17/2014 Document1                                            H
95    “Bill Lawson” 5/17/2014 Re_ Document1                                       H
96    “Steve Lynk” 5/18/2014 RE_ 1800 West End                                    H
      “Ashley Stalma” 5/19/2014 FW_ Gary Robert                                   H
97    Green
      “David Reed” 5/20/2014 RE_ Nashville                                        H
98    update
99    “Bill Lawson” 5/21/2014 FW_ SCHEDULE                                       H, A
      “Rick Crowell” 5/21/2014 Fwd_ vitra stuck at                                H
100   border
101   “Steve Byram” 5/21/2014 RE_ 76839                                           H
      “Steve Byram” 5/22/2014 FW_ US Customs                                      H
102   3461 UPGF401452855
      “David Reed” 5/22/2014 RE_ 1800 West                                        H
103   End(1)
      “David Reed” 5/22/2014 RE_ Nashville                                        H
104   update(1)
105   “Steve Lynk” 5/24/2014 RE_ 1300009                                          H
106   “Jean Mazzeo” 5/25/2014 Being asked to


                                           6
        Case 6:17-ap-00044-KSJ       Doc 212     Filed 09/22/18   Page 7 of 27



      leave jobsite
107   “Rick Crowell” 5/27/2014 FW_ Shower letter                                  H
      “Rick Crowell” 5/27/2014 Fwd_ Marriott                                      H
108   Nashville Uponor Inspection findings
109   “David Reed” 5/27/2014 72 hour notice                                       H
110   “Steve Lynk” 5/28/2014 Emailing_ 001                                        H
111   “Rick Crowell” 5/28/2014 FW_ vitra lavs                                    H, A
112   “David Reed” 5/28/2014 RE_ 72 hour notice                                   H
113   “Bill Lawson” 5/29/2014 FW_ 72 hour notice                                  H
      “Rick Crowell” 5/29/2014 RE_ Nashville                                      H
114   Hotels Extensions
      “Bill Lawson” 5/29/2014 Fwd_ Response                                       H
115   Letter
116   “Jean Mazzeo” 5/29/2014 Thank you
      “Rick Crowell” 5/30/2014 FW_ KINGS AND                                      H
117   COMMON
      “Dana Eagle” 5/30/2014 Shower Base Letter
118   From Billy Lawson
      “Jean Mazzeo” 5/31/2014 installation of tubs                               H, A
119   and shower boxes
120   “Bill Lawson” 6/4/2014 Thanks                                               H
      “Bill Lawson” 6/4/2014 Re_ 8_ sanitary line                                 H
121   in 1st floor relocation.
122   “Steve Lynk” 6/5/2014 RE_ Joe Uselton                                       H
      “Bill Lawson” 6/5/2014 RE_ Emailing_ 001,                                   H
123   002, 003
      “Bill Lawson” 6/6/2014 Fwd_ Revised # 9                                     H
124   Pay App
      “Ashley Stalma” 6/6/2014 Drug Screens                                       H
125   Kings & Common
126   “David Reed” 6/6/2014 RE_ April payment                                     H
127   “Joe Uselton” 6/7/2014 3 way transfer valve                                 H
      “Dana Eagle” 6/9/2014 1800 West End Type                                    H
128   Up
      “Dana Eagle” 6/9/2014 1800 Letter and                                       H
129   attachments
      “David Reed” 6/9/2014 RE_ April                                             H
130   payment(1)
      “Joe Uselton” 6/10/2014 Tradesmen                                           H
131   International
      “Phillip Le” 6/11/2014 RE_ 1800 WEST                                        H
132   END - Revised
133   “Bill Lawson” 6/11/2014 Man Power                                           H
      “Joe Uselton” 6/12/2014 04 riser change                                     H
134   order sheets 1-3 of 9

                                           7
        Case 6:17-ap-00044-KSJ        Doc 212     Filed 09/22/18   Page 8 of 27



      “Joe Uselton” 6/12/2014 04 riser change sheet                               H
135   4-6 of 9
      “Joe Uselton” 6/12/2014 04 riser change                                     H
136   order sheet 7 - 9
      “David Reed” 6/12/2014 Failed Inspection -                                  H
137   again
138   “Bill Lawson” 6/12/2014 FW_ Inspections                                     H
139   “Ashley Stalma” 6/12/2014 Resume                                            H
      “David Reed” 6/12/2014 RE_ FW_ Failed                                       H
140   Inspection - again
141   “Joe Uselton” 6/12/2014 Mail(1)                                             H
142   “Joe Uselton” 6/12/2014 Chipped out units                                   H
      “Dana Eagle” 6/13/2014 RE_ TN Work                                          H
143   Release
      “Owen Kelley” 6/13/2014 RE_ Addendum 3,                                     H
144   dated 2-7-2011
      “David Reed” 6/15/2014 1800 West End                                        H
145   completion Schedudule
      “David Reed” 6/15/2014 1800 West End                                        H
146   Completion Schedule
      “Billy Lawson” 6/16/2014 FW_ TEMP                                           H
147   BOOSTER
      “David Reed” 6/16/2014 18020 Continuing                                     H
148   problems
      “Ashley Stalma” 6/17/2014 Resumes                                           H
149   Attached. Please look at the ones for y...
      “Kristyn Newton” 6/17/2014 Mazzeo Current                                   H
150   billing sheet
      “Kristyn Newton” 6/17/2014 Revised Mazzeo                                   H
151   billing
      “David Reed” 6/18/2014 RE_ 18020                                            H
152   Continuing problems
      “David Reed” 6/19/2014 RE_ 18020                                            H
153   Continuing problems(1)
      “David Reed” 6/20/2014 RE_ 18020                                            H
154   Continuing problems(2)
155   “Steve Lynk” 6/23/2014 Mazzeo                                               H
      “Rick Crowell” 6/23/2014 Re_ 1800 West                                      H
156   End Ave.
157   “David Reed” 6/25/2014 RE_ 1800 May                                         H
158   “David Reed” 6/26/2014 RE_ 1800 May(1)                                      H
159   “David Reed” 6/26/2014 RE_ 1800 May(2)                                      H
160   “David Reed” 6/26/2014 RE_ 1800 May(3)                                      H
      “Bill Lawson” 6/28/2014 Fwd_ 8_ sanitary                                    H
161   relocate boiler room


                                            8
        Case 6:17-ap-00044-KSJ       Doc 212    Filed 09/22/18   Page 9 of 27



162   “Steve Lynk” 7/8/2014 1800 West End_                                      H
163   “Steve Lynk” 7/8/2014 RE_ Mazzeo                                          H
164   “Joe Uselton” 7/8/2014 Mazzio plumbing                                    H
165   “Jean Mazzeo” 7/8/2014 1800 west End Ave.                                 H
166   “David Reed” 7/10/2014 RE_ 1800 May(4)                                    H
167   “Joe Uselton” 7/10/2014 Boiler Room                                       H
168   “Bill Lawson” 7/11/2014 Fwd_ Boiler Room                                  H
      “Steve Lynk” 7/14/2014 FW_ Mazzio                                         H
169   plumbing
170   “Steve Lynk” 7/14/2014 1800 West End                                      H
      “Jean Mazzeo” 7/14/2014 irresponsible                                     H
171   writing of e-mails
172   “Steve Lynk” 7/16/2014 Re_ [Scan]                                         H
      “David Reed” 7/16/2014 Latest Plumbing                                    H
173   Issues
      “Steve Lynk” 7/16/2014 RE_ Latest                                         H
174   Plumbing Issues
      “David Reed” 7/16/2014 RE_ Latest                                         H
175   Plumbing Issues(1)
      “David Reed” 7/18/2014 RE_ 1800 West                                      H
176   End(2)
      “David Reed” 7/21/2014 RE_ 1800 West                                      H
177   End(3)
      “Dwight Hollifield” 7/21/2014 Response to                                 H
178   shs leak
179   “Dwight Hollifield” 7/21/2014 Manpower                                    H
      “Bill Lawson” 7/22/2014 Re_ 77425 labor                                   H
180   finders
      “Kristyn Newton” 7/22/2014 1800 West End                                  H
181   July Billing
      “Bill Lawson” 7/23/2014 FW_ 1800                                          H
182   CHANGE ORDERS
183   “Dwight Hollifield” 7/23/2014 Labor finders                               H
      “Kim French” 7/24/2014 FW_ Past Due                                       H
184   Amount - Over Credit Limit
      “Steve Lynk” 7/28/2014 1800 WEST END                                      H
185   TO DO LIST.xlsx
186   “Steve Lynk” 7/28/2014 Book1.xlsx                                         H
      “Kristyn Newton” 7/29/2014 1800 Mazzeo                                    H
187   Summary
      “Dwight Hollifield” 7/31/2014 Manpoweri                                   H
188   am
189   “Steve Lynk” 7/31/2014 Fwd_ core-drill                                    H
190   “Rick Heidorn” 8/4/2014 RE_ Connex                                        H
191   “dwight hollifield” 8/4/2014 Re_ Labprers                                 H

                                           9
       Case 6:17-ap-00044-KSJ      Doc 212    Filed 09/22/18   Page 10 of 27



192   “dwight hollifield” 8/6/2014 I-9’s                                       H
193   “David Reed” 8/6/2014 Progress                                           H
      “Steve Lynk” 8/7/2014 Gastite grounding                                  H
194   information
      “Dwight Hollifield” 8/7/2014 Spring hill                                 H
195   grease traps
      “David Reed” 8/8/2014 RI Sinks & other                                   H
196   issues
      “David Reed” 8/8/2014 RE_ RI Sinks & other                               H
197   issues
198   “Steve Lynk” 8/8/2014 Jay Ackers                                         H
      “Bill Lawson” 8/11/2014 Fwd_ Attached                                    H
199   Image
      “Ashley Stalma” 8/12/2014 J & N Plumbing -                               H
200   Nashville Subcontract
201   “David Reed” 8/12/2014 RE_ Progress                                      H
202   “Bill Lawson” 8/12/2014 Re_ Progress                                     H
203   “Bill Lawson” 8/12/2014 Fwd_ Progress                                    H
      “Dwight Hollifield” 8/13/2014 Job related                                H
204   progress
      “David Reed” 8/13/2014 RE_ Job related                                   H
205   progress
      “David Reed” 8/13/2014 RE_ 1800 West                                     H
206   End(4)
      “David Reed” 8/13/2014 RE_ 1800 West                                     H
207   End(5)
      “Rick Crowell” 8/14/2014 Fwd_ Tradesmen                                  H
208   International Nashville TN
      “Mike Yorio” 8/14/2014 RE_ Tennessee-                                    H
209   Plumbers_Helpers_Labor
      “Dwight Hollifield” 8/14/2014 Temp                                       H
210   plumbers
      “Bill Lawson” 8/14/2014 Re_ out of town                                  H
211   expenses
      “Dwight Hollifield” 8/14/2014 Expansion                                  H
212   tanks for boiler room
213   “Steve Lynk” 8/15/2014 manpower update                                   H
214   “Bill Lawson” 8/15/2014 Re_ Mazzeo                                       H
      “Bill Lawson” 8/15/2014 Re_ Tradesmen                                    H
215   International Nashville TN
216   “Ashley Stalma” 8/18/2014 JOSHUA FOUST                                   H
217   “Steve Lynk” 8/18/2014 1800 west end                                     H
      “travis.body” 8/18/2014 RE_ Tradesmen                                    H
218   International
219   “David Reed” 8/18/2014 RE_ Plumbers have                                 H

                                         10
       Case 6:17-ap-00044-KSJ      Doc 212    Filed 09/22/18   Page 11 of 27



      caused another substantial delay
      “Dwight Hollifield” 8/19/2014 R.I. kitchen                               H
220   sink areas
      “Rick Crowell” 8/19/2014 FW_                                             H
221   Tradesman,personel
222   “Steve Lynk” 8/19/2014 1800 West End(1)                                  H
223   “Dwight Hollifield” 8/19/2014 Task list                                  H
      “Rick Crowell” 8/19/2014 Labor Finders                                   H
224   1800 West End
225   “dwight hollifield” 8/19/2014 [Scan]                                     H
      “Steve Byram” 8/19/2014 LABOR                                            H
226   FINDERS TN
      “Bill Lawson” 8/19/2014 Re_ Kitchen sink                                 H
227   corrections
      “Rick Crowell” 8/19/2014 RE_ tradesman                                   H
228   nashville
      “Steve Lynk” 8/20/2014 RE_ MDX -                                         H
229   Submeeting
      “David Reed” 8/20/2014 RE_ Job related                                   H
230   progress(1)
      “Rick Crowell” 8/20/2014 FW_ VITRA PED                                   H
231   LAVS
232   “Steve Lynk” 8/20/2014 Andy Shook                                        H
      “David Reed” 8/20/2014 RE_ Progressive                                   H
233   crew hours 6_00 to 2_30
234   “Steve Lynk” 8/21/2014 Plumbers Names                                    H
      “Steve Lynk” 8/21/2014 Dates and                                         H
235   Projections
236   “David Reed” 8/21/2014 RE_ Attached Image                                H
237   “Steve Lynk” 8/21/2014 david reed                                        H
      “David Reed” 8/21/2014 RE_ Job related                                   H
238   progress(2)
      “Dwight Hollifield” 8/21/2014 RE_ Job                                    H
239   related progress(3)
      “Dwight Hollifield” 8/21/2014 RE_ Job                                    H
240   related progress(4)
      “Steve Byram” 8/22/2014 FW_ 1800 West                                    H
241   End Vitra
      “Bill Lawson” 8/22/2014 FW_ Job related                                  H
242   progress
243   “Bill Lawson” 8/25/2014 FW_                                              H
244   “Kim French” 8/25/2014 RE_ 1800 west end                                 H
245   “Steve Byram” 8/25/2014 Mail(2)                                          H
      “Kristyn Newton” 8/26/2014 August Billing                                H
246   1800West End

                                         11
       Case 6:17-ap-00044-KSJ      Doc 212   Filed 09/22/18   Page 12 of 27



247   “Bill Lawson” 8/26/2014 RE_ Laborers                                    H
      “Kristyn Newton” 8/28/2014 Change Order                                 H
248   013
      “Kristyn Newton” 8/28/2014 1800West End                                 H
249   Change order 013
      “David Reed” 8/28/2014 RE_ July Draw and                                H
250   Change Orders 2 of 3
      “David Reed” 8/28/2014 RE_ July Draw and                                H
251   Change Orders 1 of 3
      “David Reed” 8/28/2014 RE_ July Draw and                                H
252   Change Orders 3 of 3
      “David Reed” 8/28/2014 RE_ July Draw and                                H
253   Change Orders
254   “Steve Byram” 8/28/2014 FW_ Cla Val                                     H
      “Knight, Jami” 8/28/2014 RE_ Contact for                                H
255   Greg @ Kellogg & Kimsey
      “Knight, Jami” 8/29/2014 RE_ Contact for                                H
256   Greg @ Kellogg & Kimsey(1)
257   “Ashley Stalma” 9/2/2014 Nashville                                      H
258   “David Reed” 9/3/2014 1800 Issues                                       H
259   “Greg Schamberg” 9/3/2014 RE_ 1800 Issues                               H
      “Bass, Kevin” 9/3/2014 RE_ pedestal lavs                                H
260   1800 west end
261   “Dana Eagle” 9/3/2014 RE_ 1800 Issues(1)                                H
      “Steve Byram” 9/4/2014 RE_ Vitra pedestal                               H
262   lavs
      “Rick Crowell” 9/4/2014 RE_ 1800 WEST                                   H
263   END HOTEL
      “Steve Byram” 9/5/2014 RE_ LABOR                                        H
264   FINDERS NASHVILLE
      “Kristyn Newton” 9/8/2014 RE_ 1800 July                                 H
265   check
266   “Greg Schamberg” 9/8/2014 RE_ Trillium                                  H
      “Bass, Kevin” 9/8/2014 RE_ pedestal lavs                                H
267   1800 west end(1)
268   “Kim French” 9/9/2014 Mail(3)                                           H
      “Steve Byram” 9/10/2014 FW_ 77689                                       H
269   AMERICAN PIPE
      “Kim French” 9/10/2014 FW_ Progressive                                  H
270   July Payment
      “Rick Crowell” 9/10/2014 FW_ Attached                                   H
271   Image(1)
      “Kim French” 9/10/2014 RE_ Progressive                                  H
272   July Payment
273   “Steve Byram” 9/11/2014 Temp labor                                      H


                                        12
       Case 6:17-ap-00044-KSJ     Doc 212   Filed 09/22/18   Page 13 of 27



      nashville
      “Bill Lawson” 9/12/2014 Fwd_ 1800 West                                 H
274   End
      “David Reed” 9/12/2014 RE_ 1800 West                                   H
275   End(6)
      “David Reed” 9/12/2014 RE_ 1800 West                                   H
276   End(7)
      “David Reed” 9/12/2014 RE_ 1800 West                                   H
277   End(8)
      “Greg Schamberg” 9/17/2014 FW_ RFI 122_                                H
278   Blending Valve at Woter Softeners
279   “David Reed” 9/17/2014 Manpower(1)                                     H
280   “Bill Lawson” 9/17/2014 Fwd_ Manpower                                  H
      “Kristyn Newton” 9/18/2014 1800 West                                   H
281   End(2)
      “David Reed” 9/18/2014 FW_ RFI 122_                                    H
282   Blending Valve at Woter Softeners(1)
      “Billy Lawson” 9/18/2014 RE_ RFI 122_                                  H
283   Blending Valve at Woter Softeners
284   “Bill Lawson” 9/18/2014 Re_ FW_                                        H
      “Steve Byram” 9/18/2014 nashville grease                               H
285   trap.
      “Billy Lawson” 9/19/2014 FW_ Rooms ready                               H
286   for fixtures
      “Rick Crowell” 9/20/2014 FW_ RFI 122_                                  H
287   Blending Valve at Woter Softeners(2)
      “Kristyn Newton” 9/22/2014 FW_ 1800 West                               H
288   End
      “Steve Byram” 9/24/2014 RE_ Lochinvar                                  H
289   Startup Question
290   “Charles Kimsey” 9/24/2014 Urgent                                      H
      “David Reed” 9/24/2014 RE_ Lochinvar                                   H
291   Startup Question(1)
292   “Rick Crowell” 9/24/2014 FW_ Nashville                                 H
      “Kristyn Newton” 9/25/2014 FW_ 1800 West                               H
293   End(1)
      “Kim French” 9/25/2014 RE_ Labor Finders                               H
294   in Nashville
      “Greg Schamberg” 9/25/2014 FW_                                         H
295   PLUMBERS
296   “Bill Lawson” 9/25/2014 FW_ Urgent                                     H
297   “David Reed” 9/25/2014 RE_ Urgent                                      H
298   “Charles Kimsey” 9/25/2014 RE_ Urgent(1)                               H
      “David Reed” 9/25/2014 RE_ 1800 West                                   H
299   End(9)


                                       13
       Case 6:17-ap-00044-KSJ        Doc 212     Filed 09/22/18   Page 14 of 27



      “Kristyn Newton” 9/25/2014 RE_ 1800 West                                    H
300   End(10)
      “Kristyn Newton” 9/26/2014 FW_ JC Detail                                    H
301   History With Recaps
      “David Reed” 9/26/2014 RE_ 1800 West                                        H
302   End(11)
303   “Rick Crowell” 9/27/2014 RE_ Trims                                          H
      “David Reed” 9/29/2014 RE_ 1800 West                                        H
304   End(12)
305   “Dwight Hollifield” 9/29/2014 7th floor trims                               H
306   “Ashley Stalma” 9/30/2014 Labor Finders                                     H
      “Ashley Stalma” 9/30/2014 FW_ New Doc                                       H
307   38. Petty cash
      “Kristyn Newton” 9/30/2014 Revised August                                   H
308   billing
      “Kristyn Newton” 10/1/2014 FW_ Revised                                      H
309   August billing
      “Kristyn Newton” 10/2/2014 FW_ Revised                                      H
310   August billing(1)
      “David Reed” 10/2/2014 RE_ Revised                                          H
311   August billing
      “Kristyn Newton” 10/2/2014 Releases and                                     H
312   Attachment 3.3
      “David Reed” 10/2/2014 RE_ Releases and                                     H
313   Attachment 3.3
      “Kristyn Newton” 10/2/2014 September                                        H
314   Billing
315   “David Reed” 10/2/2014 Gastite on Roof                                      H
      “Dwight Hollifield” 10/3/2014 Fwd_ Material                                 H
316   list and time spent on moving the...
317   “Kristyn Newton” 10/3/2014 Attachment 3.3                                   H
      “Emy McCartney” 10/6/2014 RE_ 1800                                          H
318   AUgust Funding
      “Emy McCartney” 10/6/2014 FW_ Revised                                       H
319   Attachment 3.3
320   “Steve Lynk” 10/7/2014 King’s                                               H
      “Bill Lawson” 10/8/2014 FW_ Plumbing                                        H
321   Building Systems
      “David Reed” 10/8/2014 RE_ Plumbing                                         H
322   Building Systems
      “David Reed” 10/8/2014 RE_ Plumbing                                         H
323   Building Systems(1)
      “Greg Schamberg” 10/8/2014 RE_ RFI 122_                                     H
324   Blending Valve at Woter Softeners(1)
325   “Bill Lawson” 10/9/2014 RE_ RFI 122_                                        H


                                            14
       Case 6:17-ap-00044-KSJ     Doc 212    Filed 09/22/18   Page 15 of 27



      Blending Valve at Woter Softeners(2)
      “Bill Lawson” 10/9/2014 RE_ Plumbing                                    H
326   Building Systems(2)
      “Greg Schamberg” 10/9/2014 RE_ RFI 122_                                 H
327   Blending Valve at Woter Softeners(3)
      “Bill Lawson” 10/10/2014 Re_ 1800 West                                  H
328   End
329   “David Reed” 10/10/2014 Manpower(2)                                     H
330   “Bill Lawson” 10/10/2014 Re_ Manpower                                   H
      “Steve Byram” 10/10/2014 NASHVILLE                                      H
331   LABORER ROBERT
      “Jorgo Kycyku” 10/13/2014 PIECEWORK                                     H
332   SHEET
      “Greg Schamberg” 10/13/2014 Shower Valve                                H
333   PPI wants approved
      “Kristyn Newton” 10/14/2014 RE_ August                                  H
334   Draw
      “Dwight Hollifield” 10/14/2014 Fwd_ Lynn                                H
335   Clark pay
336   “David Reed” 10/15/2014 RE_ Manpower                                    H
      “Dwight Hollifield” 10/15/2014 Fwd_ RE_                                 H
337   Request for pay increase form
338   “Bill Lawson” 10/15/2014 RE_ Manpower(1)                                H
339   “David Reed” 10/16/2014 RE_ Manpower(2)                                 H
340   “Jorgo Kycyku” 10/17/2014 1800 West end                                 H
341   “Steve Byram” 10/17/2014 RE_ Day Labor                                  H
342   “Greg Schamberg” 10/21/2014 RE_ Plumber                                 H
      “Kim French” 10/22/2014 RE_ 1800 August                                 H
343   Check
      “Kristyn Newton” 10/22/2014 1800 West End                               H
344   Sunbelt Release
      “David Reed” 10/22/2014 RE_ 1800 August                                 H
345   Check(1)
      “Kim French” 10/22/2014 RE_ 1800 August                                 H
346   Check(2)
347   “David Reed” 10/22/2014 RE_ Milestones                                  H
348   “David Reed” 10/22/2014 RE_ Milestones(1)                               H
349   “David Reed” 10/23/2014 RE_ Milestones(2)                               H
350   “David Reed” 10/23/2014 RE_ Milestones(3)                               H
351   “David Reed” 10/23/2014 RE_ Milestones(4)                               H
      “Greg Schamberg” 10/24/2014 Invoices for                                H
352   Skilled Labor- Trillium
      “Dwight Hollifield” 10/24/2014 RE_                                      H
353   Milestones(5)
354   “David Reed” 10/24/2014 RE_ (1)                                         H

                                        15
       Case 6:17-ap-00044-KSJ         Doc 212    Filed 09/22/18   Page 16 of 27



      “Bill Lawson” 10/27/2014 Re_ Statis of                                      H
355   fixtures
      “Dwight Hollifield” 10/29/2014 Re_ Fwd_                                     H
356   Attached Image piece work sheet
      “Ashley Stalma” 10/30/2014 RE_ Calvin                                       H
357   Robinson
      “Dwight Hollifield” 10/31/2014 New Doc 42                                   H
358   - Scanned by CamScanner       materi...
      “Steve Lynk” 10/31/2014 RE_ New Doc 42 -                                    H
359   Scanned by CamScanner       ma...
360   “Bill Lawson” 10/31/2014 Overtime                                           H
      “David Reed” 11/1/2014 1800 West End                                        H
361   Punch out Residence Inn Units 500...
362   “Steve Lynk” 11/1/2014 Re_ 5th floor punch                                  H
      “Bill Lawson” 11/2/2014 Re_ 9th Floor                                       H
363   Punch List
      “Steve Lynk” 11/2/2014 5 th floor as of 11-2-                               H
364   14
365   “Steve Lynk” 11/2/2014 Re_ _                                                H
366   “Steve Lynk” 11/2/2014 RE_ Status                                           H
      “Dwight Hollifield” 11/3/2014 New Doc 44 -                                  H
367   Scanned by CamScanner           ...
      “Bill Lawson” 11/5/2014 Fwd_ 78357                                          H
368   NASHVILLE
369   “David Reed” 11/6/2014 RE_ Gas meters                                       H
      “Billy Lawson” 11/6/2014 FW_ Concrete                                       H
370   patching
      “Dwight Hollifield” 11/10/2014 New Doc 59                                   H
371   - Scanned by CamScanner ductle ir...
372   “Steve Lynk” 11/11/2014 ductle-iron                                         H
373   “Ashley Stalma” 11/11/2014 RE_ Robert                                       H
374   “Don MacRae” 11/11/2014 Re_ Dishwashers                                     H
      “David Reed” 11/12/2014 RE_ 6_ Double                                       H
375   Backflow
376   “David Reed” 11/13/2014 RE_ Dishwashers                                     H
      “Dwight Hollifield” 11/13/2014 Apartment in                                 H
377   nashville
      “Kristyn Newton” 11/13/2014 Change                                          H
378   Request 014
379   “Steve Lynk” 11/14/2014 Gas water heaters                                   H
380   “Steve Lynk” 11/14/2014 Gas meter                                           H
      “Dwight Hollifield” 11/15/2014 New Doc 67                                   H
381   - Scanned by CamScanner      sump pu...
      “Steve Lynk” 11/17/2014 Fwd_                                                H
382   ACCT16976.300

                                            16
       Case 6:17-ap-00044-KSJ      Doc 212    Filed 09/22/18   Page 17 of 27



      “Steve Lynk” 11/17/2014 Fwd_ 1800 WEST                                   H
383   END AVE (1801 HAYES ST)
384   “Kim French” 11/17/2014 FW_ Mazzeo COI                                   H
      “David Reed” 11/18/2014 PPI Continued                                    H
385   Failures
      “Kim French” 11/18/2014 FW_ Employee’s                                   H
386   tickets
387   “David Reed” 11/18/2014 Boiler start                                     H
      “David Reed” 11/19/2014 RE_ Blending                                     H
388   Valve inspection
389   “Bill Lawson” 11/19/2014 !800 Finishs                                    H
      “Jorgo Kycyku” 11/19/2014 RE_ !800                                       H
390   Finishs
      “Steve Byram” 11/19/2014 78507                                           H
391   NASHVILLE- SYMMONS TRIM
      “Bill Lawson” 11/19/2014 Re_ Blending                                    H
392   Valve inspection
      “Jorgo Kycyku” 11/20/2014 RE_ 9th floor                                  H
393   prefab tub_shower valve
      “Steve Byram” 11/21/2014 RE_ S_O                                         H
      Confirmation 113678 Cust P_O 563-
394   S14458...
      “David Reed” 11/21/2014 RE_ 6_ Double                                    H
395   Backflow(1)
      “Bill Lawson” 11/22/2014 Re_ 6_ Double                                   H
396   Backflow
397   “Jorgo Kycyku” 11/22/2014 RE_ Lies                                       H
398   “Jorgo Kycyku” 11/24/2014 Material Request                               H
      “Kim French” 11/24/2014 RE_ Check for                                    H
399   Robert Muirhead
400   “Steve Byram” 11/24/2014 PEDESTALS                                       H
      “Steve Byram” 11/24/2014 FW_ FW_                                         H
401   VITRA.
402   “David Reed” 11/24/2014 Boilers                                          H
      “Steve Byram” 11/24/2014 78533                                           H
403   NASHVILLE
      “Jorgo Kycyku” 11/24/2014 Item’s to be                                   H
404   completed
      “Jorgo Kycyku” 11/24/2014 Material Request                               H
405   1off 2 .
      “Jorgo Kycyku” 11/24/2014 Material request                               H
406   1off 2
      “Bill Lawson” 11/24/2014 Re_ Material                                    H
407   request 1off 2
408   “Steve Byram” 11/24/2014 speakman parts                                  H


                                         17
       Case 6:17-ap-00044-KSJ      Doc 212    Filed 09/22/18   Page 18 of 27



      diagram
409   “Bill Lawson” 11/25/2014 Gas Heaters                                     H
410   “Steve Lynk” 11/25/2014 Softner                                          H
      “Steve Byram” 11/25/2014 FW_ Bid                                         H
411   S144698523
      “Steve Byram” 11/25/2014 78552                                           H
412   NASHVILLE
413   “Steve Lynk” 11/25/2014 Lochinvar                                        H
      “David Reed” 11/26/2014 Declaration of
414   Default
      “Steve Byram” 11/26/2014 78564 TWIN                                      H
415   FLAGS
      “Jorgo Kycyku” 12/1/2014 Item’s to be                                    H
416   completed (1)
      “Steve Byram” 12/1/2014 FW_ Demand                                       H
417   Mechanical Service Ticket #WO-0661
      “Jonathan.Ashton@Ferguson.com” 12/1/2014                                 H
418   RE_ 78563 NASHVILLE
419   “Bill Lawson” 12/1/2014 Re_ Gas regulators                               H
      “Bill Lawson” 12/2/2014 FW_ URGENT                                       H
420   Kellogg & Kimsey
      “Kim French” 12/3/2014 RE_ Check for                                     H
421   Robert Muirhead(1)
422   “Anil Patel” 12/4/2014 Mail(4)                                           H
      “Steve Lynk” 12/5/2014 Fwd_ Watts Water                                  H
423   Softener @ 1800 West End
      “Greg Schamberg” 12/6/2014 Items still                                   H
424   waiting for PPI to install in guest...
      “David Reed” 12/6/2014 FW_ Items still                                   H
425   waiting for PPI to install in g...
      “Steve Lynk” 12/8/2014 Fwd_ New Doc 98 -                                 H
426   Scanned by CamScanner          ba...
      “David Reed” 12/8/2014 FW_ 1800 West                                     H
427   End Ave- Backflow Inspections
      “Dwight Hollifield” 12/9/2014 Fwd_ FW_                                   H
428   1800 West End Ave- Backflow Inspections
      “Greg Schamberg” 12/9/2014 RE_ Washer                                    H
429   Delivery
      “Dwight Hollifield” 12/10/2014 Re_ Fwd_                                  H
430   STILL missing parts for the commerical...
      “Bill Lawson” 12/10/2014 Re_ Now K&K is                                  H
431   buying parts for PPI
      “Bill Lawson” 12/12/2014 Fwd_ 78678                                      H
432   nashville
433   “Rick Crowell” 12/13/2014 FW_ New Doc                                    H


                                         18
       Case 6:17-ap-00044-KSJ        Doc 212    Filed 09/22/18   Page 19 of 27



      106 - Scanned by CamScanner
      “David Reed” 12/24/2014 RE_ Progressive                                    H
434   Plumbing
      “Greg Schamberg” 12/31/2014 RE_ Need PPI                                   H
435   help ASAP! FW_ Ansul System Tie In
436   “David Reed” 1/9/2015 PPI Issues                                           H
437   “Billy Lawson” 1/9/2015 RE_ PPI Issues                                     H
      “Billy Lawson” 1/12/2015 RE_ Marriott                                      H
438   Mechainal inspections
      “Bobbi Siferd” 1/21/2015 Progressive                                       H
439   Plumbing, Inc.; Bond No_ D00000007 ...
      “David Gurley” 2/4/2015                                                    H
440   K&K_Progressive_Darwin National
      “Kim French” 2/5/2015 FW_ Copy of 1800                                     H
441   West End Recap010715.xlsx
442   “Kristyn Newton” 2/5/2015 1800 Recap                                       H
      “Dwight Hollifield” 2/9/2015 New Doc 149 -                                 H
443   Scanned by CamScanner          extras
      “Dwight Hollifield” 2/9/2015 New Doc 150 -                                 H
444   Scanned by CamScanner          more e...
      “David Gurley” 2/9/2015 RE_                                                H
445   K&K_Progressive_Darwin National
446   “Dwight Hollifield” 2/10/2015 Extras                                       H
      “David Gurley” 2/11/2015 RE_                                               H
447   K&K_Progressive_Darwin National (1)
      “David Gurley” 2/13/2015 Re_                                               H
448   K&K_Progressive_Darwin National
      “Greg Schamberg” 2/16/2015 RE_ sewage                                      H
449   back up in 2 SHS rooms
      “Barber, Dennis” 2/16/2015 RE_ room matrix                                 H
450   revenue management 2 16 15 (3)...
      “Barber, Dennis” 2/16/2015 FW_ Flood                                       H
451   9120
      “Greg Schamberg” 2/17/2015 Major                                           H
452   Plumbing Issues Narrative for Progressive...
      “Greg Schamberg” 2/17/2015 Guest room                                      H
453   pics of the rainwater leader damage
      “Barber, Dennis” 2/17/2015 FW_ room                                        H
454   matrix revenue management 2.16.15.xlsx
      “Eugene Shuboy” 2/17/2015 Progressive                                      H
455   Plumbing, Inc. - Bond No. D00000007...
      “Greg Schamberg” 2/18/2015 RE_ Payment                                     H
456   for restoration and repair at 1800 ...
      “Greg Schamberg” 2/18/2015 RE_ Payment                                     H
457   for restoration and repair at 1800 ...(1)


                                           19
       Case 6:17-ap-00044-KSJ     Doc 212    Filed 09/22/18   Page 20 of 27



      “Greg Schamberg” 2/18/2015 Work order                                   H
458   from ASDT, signed by PPI
      “Greg Schamberg” 2/19/2015 FW_ Payment                                  H
459   for restoration and repair at 1800 ...
      “Greg Schamberg” 2/19/2015 FW_ rooms out                                H
460   of order and moisture removal
      “Kim French” 2/19/2015 FW_ Allied World                                 H
461   response to Kellogg & Kimsey’s...
      “Greg Schamberg” 2/19/2015 RE_ Timeline                                 H
462   for repairs
      “Greg Schamberg” 2/20/2015 Update on                                    H
463   Room repairs
      “Barber, Dennis” 2/20/2015 RE_ Update on                                H
464   Room repairs
      “Anil Patel” 2/23/2015 FW_ Several More                                 H
465   water damage rooms
      “Greg Schamberg” 2/23/2015 RE_ Several                                  H
466   More water damage rooms
      “Greg Schamberg” 2/23/2015 More plumbing                                H
467   issues
      “Greg Schamberg” 2/23/2015 FW_ More                                     H
468   plumbing issues
      “Greg Schamberg” 2/23/2015 RE_ Still no                                 H
469   response from PPI insurance- Pleas...
      “Kim French” 2/23/2015 RE_ More plumbing                                H
470   issues
      “Greg Schamberg” 2/24/2015 RE_ room                                     H
471   matrix revenue management 2.23.15.xlsx
      “Greg Schamberg” 2/24/2015 RE_ room                                     H
472   matrix revenue management 2.23.15.xlsx(1)
      “Greg Schamberg” 2/24/2015 Shower                                       H
473   damage not located in 6101 RE_ K and ...
      “Bobbi Siferd” 2/24/2015 Progressive                                    H
474   Plumbing, Inc.; Bond No_ D00000007 ...(1)
      “Dwight Hollifield” 2/25/2015 New Doc 137                               H
475   - Scanned by CamScanner pictures
      “Dwight Hollifield” 2/25/2015 New Doc 138                               H
476   - Scanned by CamScanner repaired...
      “Dwight Hollifield” 2/25/2015 New Doc 141                               H
477   - Scanned by CamScanner time and m...
      “Greg Schamberg” 2/26/2015 RE_                                          H
478   Remaining out of order
      “Greg Schamberg” 2/26/2015 RE_                                          H
479   Remaining out of order(1)
      “Billy Lawson” 3/2/2015 RE_ More                                        H
480   plumbing issues, more drywall damage, ...

                                        20
       Case 6:17-ap-00044-KSJ        Doc 212    Filed 09/22/18   Page 21 of 27



      “David Reed” 3/2/2015 RE_ Water damage                                     H
481   Additional work
      “Billy Lawson” 3/2/2015 RE_ Payment for                                    H
482   Jeff Rudolph
      “Greg Schamberg” 3/16/2015 Preliminary                                     H
483   invoicing for MI Nashville water le...
      “Bobbi Siferd” 3/19/2015 Kellogg                                           H
484   Kimsey_Progressive Plumbing - Nashville...
      “Kristyn Newton” 3/24/2015 1800 West End                                   H
485   Contract Recap
      “Kristyn Newton” 3/24/2015 1800 West End                                   H
486   Sept Pay App 19
      “Kristyn Newton” 3/24/2015 1800 West End                                   H
487   October Pay App 20
      “Kristyn Newton” 3/24/2015 1800 West End                                   H
488   February Pay App 21
      “Kristyn Newton” 3/24/2015 1800 West End                                   H
489   Retainage Pay App 22
490   “Dwight Hollifield” 3/26/2015 Planter drains                               H
      “Bill Lawson” 3/27/2015 Re_ Added change                                   H
491   orders
      “Bill Lawson” 3/27/2015 Response To Added                                  H
492   Change Orders
      “Billy Lawson” 4/1/2015 RE_ Boiler room                                    H
493   leak
      “mschroeder@asdtrestoration.com” 4/2/2015                                  H
494   Invoice 9792 from A.S.D.T
      “mschroeder@asdtrestoration.com” 4/2/2015                                  H
495   Invoice 9793 from A.S.D.T
      “mschroeder@asdtrestoration.com” 4/2/2015                                  H
496   Invoice 9794 from A.S.D.T
497   “Gary King” 4/6/2015 send asap                                             H
      “Barber, Dennis” 4/6/2015 FW_ FW_                                          H
498   invoices from water damages
      “Greg Schamberg” 4/8/2015 RE_ Payment                                      H
499   for restoration and repair at 1800 ...(2)
      “Billy Lawson” 4/13/2015 RE_ RI eye wash                                   H
500   station
      “David Reed” 4/14/2015 PPI Outstanding                                     H
501   Change Order Update
      “Greg Schamberg” 4/15/2015 RE_ RI eye                                      H
502   wash station(1)
      “Michelle Schroeder” 4/16/2015 Fwd_                                        H
503   invoices from water damages
      “Greg Schamberg” 5/18/2015 FW_ Invoices                                    H
504   still outstanding for ASDT Restora...
                                           21
       Case 6:17-ap-00044-KSJ        Doc 212    Filed 09/22/18   Page 22 of 27



      “Gary King” 5/20/2015 RE_ Invoices still                                   H
505   outstanding for ASDT Restora...
      “David Reed” 5/29/2015 RE_ Another room                                    H
506   flooded - 5013
      “Greg Schamberg” 5/29/2015 FW_ Another                                     H
507   room flooded - 5013
      “David Reed” 5/29/2015 RE_ Another room                                    H
508   flooded - 5013(1)
      “Kim French” 5/29/2015 RE_ Another room                                    H
509   flooded - 5013(2)
510   “Kim French” 6/1/2015 RE_ 5013                                             H
      “Keating, James” 6/3/2015 RE_                                              H
511   K&K_Progressive_Darwin National (2)
      “David Reed” 6/9/2015 RE_ Claim #                                          H
512   0003403 - Progressive Plumbing, Inc...
      “Billy Lawson” 6/25/2015 FW_ Major                                         H
513   Plumbing Issues Narrative for Progres...
514   “Kim French” 6/29/2015 Re_ 6003 Flood                                      H
      “Keating, James” 8/6/2015 Allied World -
515   letter to Kellogg & Kimsey re di...
516   Photographs (Depo Ex. 48 – 54)                                          A
517   Photographs (Composite)                                               A, NP
      01/08/2015 Kellogg & Kimsey listing of                                  H
      Progressive Plumbing Payments from
518   05/9/2013 to 10/22/2014 (Depo Ex. 67)
      10/01/2012 Supplementary Conditions to
519   Prime Contract (Depo Ex. 115)
      Kellogg & Kimsey, Inc. Submittal Record
520   Sheet (K&K 011245-50) (Depo Ex. 119)
      Kellogg & Kimsey, Inc.’s Proof of Claim as                          H, Pleading
      to Debtor, Progressive Pluming, Inc. (Depo                             & not
521   Ex. 127)                                                             evidence
      12/10/2015 Indemnity Agreement between
      Ace & K&K (K&K023195-96) (Depo Ex.
522   144)
      12/28/2012 Evidence of Commercial Property
523   Insurance (K&K024596-97) (Depo Ex. 152)
      Kellogg & Kimsey, Inc. Superintendent’s
      Daily Reports Date Range 01/28/2013 to
524   05/01/2015 (Depo Ex. 176)
      04/13/2015 and 05/18/2015 Kellogg &                                        H
      Kimsey, Inc. Job Cost & Billing Detail Bates
      stamped K&K 012624 – K&K 012630 (Depo
525   Ex. 178)
526   11/11/2016 Kellogg & Kimsey, Inc. Memo                                     H


                                           22
       Case 6:17-ap-00044-KSJ        Doc 212     Filed 09/22/18   Page 23 of 27



      titled “Narrative of PPI induced Building
      Department delays” (Depo Ex. 179)
527   Withdrawn
      01/25/2013 Contractors Applications and
      Certification for Payments from Kellogg &
      Kimsey, Inc. to Ace Hospitality, Inc. and
      General Contractor’s Affidavits ( Conditional
      Final Waiver of Lien and Partial Waiver of
      Lien). Documents are Bates stamped K&K
528   021558 to K&K 021893) (Depo Ex. 181)
      Kellogg & Kimsey, Inc. Superintendent’s
      Daily Reports, Date Range 04/03/2013 to
529   04/24/2015 (Depo Ex. 188)
      Sub-Contractor Meeting Notes and Sign In
      sheets, Date Range 05/07/2013 to 10/22/2014
530   (Depo Ex. 189)
      Progressive Plumbing Daily Reports (date                                    H
      range 09/03/2013 to 02/21/2014)
      Correspondence from Scott Bouchard to Anil
      Patel re: Sample Room Observation (dated
      06/18/2014) and Kellogg & Kimsey, Inc. log
531   pages (Depo Ex. 191)
      ASDT Recap and Billing, Springhill                                          H
      Suites/Residence Inn with labor reports (Depo
532   Ex. 192)
      02/21/2015ASDT Recap and Billing,                                           H
      SpringHill Suites with labor reports (Depo
533   Ex. 200)
      12/02/2014 Letter from James Keating/Allied
      World Assurance Company to Kellogg &
      Kimsey, Inc. re: Claim No.: 2014022180
534   (K&K012632-41) (Depo Ex. 214)
      8/12/15 and 9/17/2015 Law office detailed                               A, H
      billing from Gullett, Sanford, Robinson &
      Martin, LLC to ACE Hospitality, Inc. (Depo
535   Ex. 219)
      Labor Finders Customer Account Summary                                  A, H
536   from 09/26/2007-11/07-2014 (Depo Ex. 253)
537   Withdrawn
538   Composite Damages Exhibit                                             H, R, BE
539   Damage summary sheet                                                  H, R, BE
540   ASDT Invoices and Proof of Payment
      Tradesmen lien and Notice of Recording                                  A, H
541   Payment Bond
      Trillium Invoices, Proof of Payment and A/P                             A, H
542   History Report

                                            23
       Case 6:17-ap-00044-KSJ        Doc 212     Filed 09/22/18   Page 24 of 27



543   Hospitality Invoices and proof of payment
      United Rental Invoices, Kimbro Oil Invoices,                            A, H
      Breakdown of Skid steer group use and proof
544   of payment
      Transfac Capital Invoices and proof of                                  A, H
545   payment
      Metro Nashville Invoices with attached proof                            A, H
546   of payment
      K&K Narrative for labor costs associated                                    H
547   with patching concrete decks
      Tile Pro Change Order, Payment Application                                  H
548   and Proof of Payment
      Eastern Change Order, Pay App and Proof of                                  A
549   Payment
      K&K Narrative of labor and materials cost for                               H
550   drywall and cabinet repair
      K&K Narrative of labor and materials for                                    H
      paint and vinyl wall covering repair with
      invoices and proof of payment for Charlie
551   Irwin painting.
      Acousti Engineering Change Order, Pay App                               A, H
552   and Proof of Payment
      K&K Narrative for labor and materials for                                   H
      drying rooms with invoices for united rentals
553   carpet blowers and proof of payment
      All Shores Change Order, Pay App and Proof                              A, H
554   of Payment
555   MPL Invoices and Proof of Payment                                       A, H
      Georgia Air Change Order, Pay App and                                   A, H
556   Proof of Payment
      Ace/K&K Indemnity Agreement for
      Progressive & ASDT, K&K Billing Summary
      for Ace as backup for Indemnification fees to
557   Owner
      Billing Summary and Proof of Payments to                                H, R
558   Progressive
      Complaint from Progressive v. K&K and Ace
559   in Tennessee
      Certified copies of Notice of Recording                                A, NP
560   Payment Bond Tradesmen International
      Original copies of Payment & Performance
561   Bonds
562   Withdrawn                                                              A, NP
563   Video files                                                            A, NP
564   Labor Finders Third Party Production                                   H, A
565   MPL Third Party Production                                             H, A

                                            24
       Case 6:17-ap-00044-KSJ         Doc 212    Filed 09/22/18   Page 25 of 27



566   Trillium Third Party Production                                         H, A
      Any exhibit listed by opposing parties which                            NA
567   is not objected to by K&K
      Any exhibit required for impeachment or                                     NA
568   rebuttal
569   Withdrawn
570   Withdrawn
571   Withdrawn                                                               NP
      2015.07.30 Email Shuboy to Sasso, Cohen,                               H, NP
      Dunn, Gurley and Siferd (with attached email
      chain) forwarding 2015.07.30 from Kim
572   French Re: Update Water Supply Lines
      2015.08.25 Email Gurley to Cohen, Shuboy                               H, NP
      and Schusteritsch (with attached email chain)
      re: Kellogg/Allied x 2631 (courtesy copy to
573   Judge
      2015.07.29 Email Gurley to Sasso, Cohen,                               H, NP
      Dunn and Shuboy (with attached email chain)
      RE: 1800 West End Hotel Project/Nashville,
      TN/Progressive Plumbing/Allied World
574   Specialty
      2016.01.21 Email Cohen to Gurley, Hall,                                H, NP
      Nardella, ( with attached email chain) Re:
      United Specialty Release for 133k pending
575   payment.
      2016.01.06 Email Gurley to Cohen, Breen                                H, NP
      and Schusteritsch (with attached email chain)
576   FW: Progressive Plumbing, Inc., Debtor.
      2016.03.09 Email Gurley to Cohen, Breen                                H, NP
      and Schusteritsch Re: Allied’s Denial of
577   ASDT’s payment bond claim.
      2016.02.18 Email Gurley to Cohen and Breen                             H, NP
      (with attached email chain) Re:
578   Kellogg/Allied/ASDT.
579   Withdrawn                                                                H
      2015.02.11 Email Shuboy to Green ( with                                H, NP
      attachments and email chain) FW;
580   K&K/Progressive/Darwin National
      2015.06.02 Shuboy email to Keating and                                 H, NP
581   Siferd re :K&K/Progressive/Darwin National
      2015.02.19 Email Gurley to French,                                          H
      Colby(with attachments) re : Allied World
      response to Kellogg & Kimsey’s attorneys
582   letter
      2015.06.01 Email from French to Reed,                                       H
583   barber, Viola, Keating, Fry, Kimsey, Gurley

                                            25
           Case 6:17-ap-00044-KSJ         Doc 212     Filed 09/22/18       Page 26 of 27



          and Shuboy (with attached email chain) Re:
          5013
          2015.06.02 Email Shuboy to Keating and                                           H
584       Siferd re: K&K/Progressive/Darwin National
585       Withdrawn                                                                  Objection*
586       Withdrawn                                                                  Objection
587       Withdrawn                                                                  Objection
          Withdrawn                                                                      H,
588                                                                                  Objection
589       Withdrawn                                                                  Objection
          Withdrawn                                                                      H,
590                                                                                  Objection
591       Withdrawn                                                                  Objection
592       Withdrawn                                                                  Objection
593       Withdrawn                                                                  Objection
          Withdrawn                                                                      H,
594                                                                                  Objection
595       Withdrawn                                                                  Objection
596       Withdrawn                                                                  Objection
597       Withdrawn                                                                  Objection
598       Withdrawn                                                                  Objection
599       Withdrawn                                                                  Objection
600       Withdrawn                                                                  Objection
          Withdrawn                                                                      H,
601                                                                                  Objection
602       Withdrawn                                                                  Objection
603       Withdrawn                                                                  Objection
604       Withdrawn                                                                  Objection
605       Withdrawn                                                                  Objection
606       Withdrawn                                                                  Objection
607       Withdrawn                                                                  Objection


*All deposition transcripts objected to except as previously designated.


Allied states that it has not had a full opportunity to review K&K exhibits, but asserts some
general objections, which it reserves the right to revise:
•         Object to all documents where the witness/author is not present at trial and the
document was not authenticated at the witness/author's deposition and cannot otherwise be
authenticated
•          Object to all that would be offered through a records custodian that are not business
records


                                                26
    Case 6:17-ap-00044-KSJ       Doc 212     Filed 09/22/18   Page 27 of 27



•   Other objections based on the evidence code




                                        27
